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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF CONNECTICUT


RAGHAVENDRA VIJAYANAGAR              :     NO. 3:18-cv-00553 KAD

      PLAINTIFF,                     :

V.                                   :

JAYARAMAN KRISHNA, a/k/a
JAYARMAN KRISHNAN,a/k/a
KRISHNA JAYARAMAN, a/k/a
KRISHNAN JAYARAMAN


      DEFENDANT.                     :     OCTOBER 16, 2018



                RESPONSE TO AFFIRMATIVE DEFENSES


      1.    The plaintiff, denies each and every Affirmative Defense, (1-

5), as pleaded by the defendant as stated in his Answer and Affirmative

Defenses dated May 25, 2018.

                               THE PLAINTIFF,



                               BY:___/s/Steven A. Ouellette

                               STEVEN A. OUELLETTE
                               OUELLETTE, DEGANIS, &
                               GALLAGHER, LLC
                               143 MAIN STREET
                               CHESHIRE, CT 06410
                               Fed. Bar No. ct26913
                               Tel. 203-272-1157
    Case 3:18-cv-00553-KAD Document 19 Filed 10/16/18 Page 2 of 2




                       CERTIFICATE OF SERVICE

      I hereby certify that on October 16, 2018 , a copy of the foregoing

was e-mailed to defendants counsel.

                                                /s/ Steven A. Ouellette
